     Case 2:19-cv-00771-APG-BNW Document 66 Filed 09/18/20 Page 1 of 4



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 8                                  UNITED STATES DISTRICT COURT
 9                                           DISTRICT OF NEVADA
10      GATEWAY INSURANCE COMPANY, a                      Case No.: 2:19-cv-00771-APG-BNW
11      Missouri corporation,

12                              Plaintiff,
                                                          JOINT MOTION TO DISMISS CASE
13      vs.                                               WITHOUT PREJUDICE PURSUANT
                                                          TO FRCP 41(a)(2)
14      ALEXANDER FERNANDEZ-LEON, an
        individual; YENDRY HERNANDEZ-
15      ECHEVARRIA, an individual; GRETSIN
        CONSUEGRA SORIANO, an individual;
16      JUAN SCHUEG-CASTRO, an individual;
        JOSE PRIETO-HERNANDEZ, an individual;
17      NELLIS CAB LLC, OPERATION SERIES
        NELLIS CAB LLC, VEH. SERIES 102, a
18      Nevada series limited liability company,

19                              Defendants.

20            Plaintiff Gateway Insurance Company (“Plaintiff”) by and through its counsel of record,

21     Scott A. Flinders and Todd W. Prall of the law firm Hutchison & Steffen, PLLC, and

22     Defendants Yendry Hernandez-Echevarria, Gretsin Consuegra Soriano, Juan Schueg-Castro,

23     and Jose Prieto-Hernandez (“Defendants”), by and through their counsel, Joseph A. Gutierrez

24     and Stephen G. Clough of Maier Gutierrez and Associates jointly move the Court for an order

25     dismissing this case without prejudice pursuant to FRCP 41(a)(2).

26            Plaintiff and Defendants would submit a stipulation to dismiss without prejudice

27     pursuant to FRCP 41(a)(1), but the attorney of record for Nellis Cab, LLC, another defendant in

28     this case, has informed Plaintiff and Defendants that he is no longer authorized to represent
     Case 2:19-cv-00771-APG-BNW Document 66 Filed 09/18/20 Page 2 of 4



 1     Nellis Cab, LLC. No counsel has been located who has been authorized to appear in this action
 2     on behalf of Nellis Cab, LLC. Nellis Cab, LLC is, however, represented by new counsel in the
 3     underlying state court action and dismissal of this case without prejudice will not affect or
 4     hinder Nellis Cab, LLC’s ability to defend the underlying action.
 5            Plaintiff had filed a Motion for Stay Due to Gateway Insurance Company’s Liquidation
 6     (“Motion for Stay”) (Doc. #56), which Defendants opposed (Doc. #57), and Defendants also
 7     filed a Countermotion to Dismiss for Want of Prosecution (“Countermotion”) (Doc. #58).
 8            FRCP 41(a)(1) provides that a Plaintiff may dismiss an action without prejudice if it
 9     files the notice of dismissal before an answer ir motion for summary judgment is served or with
10     a stipulation of dismissal signed by all parties who have appeared. FRCP 41(a)(2) provides that
11     except as provided in Rule 41(a)(1), an action may be dismissed at plaintiff’s request by court
12     order, “on terms that the court considers proper.” The rule further states that “If a defendant has
13     pleaded a counterclaim before being served with the plaintiff’s motion to dismiss, the action
14     may be dismissed over the defendant’s objection only if the counterclaim can remain pending
15     for independent adjudication.” Here, neither the defendants joining the motion nor Nellis Cab,
16     LLC has pleaded a counterclaim. Further, as noted above, a dismissal without prejudice will
17     not prejudice Nellis Cab, LLC in defending the claims brought against it in the underlying state
18     court action.
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     Case 2:19-cv-00771-APG-BNW Document 66 Filed 09/18/20 Page 3 of 4



 1            Based on these facts Plaintiff hereby agreed to withdraw the Motion to Stay, Defendants
 2     hereby agree to withdraw the Countermotion, and Plaintiff and Defendants jointly move the
 3     dismiss the action without prejudice pursuant to FRCP 41(a)(2).
 4      DATED this 18th day of September, 2020.          DATED this 18th day of September, 2020.
 5      HUTCHISON & STEFFEN, PLLC                        MAIER GUTIERREZ & ASSOCIATES
 6
 7      /s/ Todd W. Prall                                /s/ Stephen G. Clough
        Scott A. Flinders (6975)                         Joseph A. Gutierrez (9046)
 8      Todd W. Prall (9154)                             Stephen G. Clough (10549)
        HUTCHISON & STEFFEN, PLLC                        8816 Spanish Ridge Avenue
 9      Peccole Professional Park                        Las Vegas, Nevada 89148
        10080 West Alta Drive, Suite 200
10      Las Vegas, Nevada 89145                          Attorneys for Defendants Yendry
                                                         Hernandez-Echeverria, Gretsin
11      Attorneys for Plaintiff                          Consuegra Soriano, Juan Schueg-Castro,
                                                         and Jose Preito-Hernandez
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17     IT IS SO ORDERED: September 18, 2020
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                                            ANDREW P. GORDON
20                                          UNITED STATES DISTRICT JUDGE

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     Case 2:19-cv-00771-APG-BNW Document 66 Filed 09/18/20 Page 4 of 4



 1                                   CERTIFICATE OF SERVICE
 2            Pursuant to FRCP 5(b), I certify that I am an employee of HUTCHISON & STEFFEN,
 3     PLLC and that on this 18th day of September, 2020, I caused the above and foregoing document
 4     entitled JOINT MOTION TO DISMISS CASE WITHOUT PREJUDICE PURSUANT TO
 5     FRCP 41(a)(2) to be served as follows:
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 7            :      through CM/ECF and the court’s electronic filing system
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 9
                                                    /s/ Bobbie Benitez
10                                                An employee of Hutchison & Steffen, PLLC
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